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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                               Case No. 18-23576-CIV-WILLIAMS

  AM GRAND COURT LAKES, LLC, et al.,

         Plaintiffs,

   V.


   ROCKHILL INSURANCE COMPANY,

     Defendant.
   _________________./


                                      VERDICT FORM

         We, the jury, find:

   Question 1:

   Do you find by the greater weight of the evidence that Rockhill Insurance breached the
   insurance contract by failing to pay for the covered loss or damages to AM Grand and
   AM 280's property caused by Hurricane Irma?

                               ✓   Yes     - - - -No.

   If your answer to question 1 is NO, then your verdict is for Rockhill Insurance.
   Simply skip the remaining questions and proceed to sign and date the verdict
   form on page 7.

   However, if your answer to question 1 is YES, then proceed to answer question 2.



   Question 2:

   Do you find by the greater weight of the evidence that AM Grand, AM 280 or their agents
   complied with their duties under the policy before filing this lawsuit?


                       _✓
                        .....___Yes        _ _ _ _ No.
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   If your answer to question 2 is NO, then you should proceed to answer question 3.

   However, if your answer to question 2 is YES, then your verdict is for AM Grand
   and AM 280 and you should skip question 3 and proceed to answer question 4.



   Question 3:

   Do you find by the greater weight of the evidence that AM Grand, AM 280 or their
   agents' conduct substantially prejudiced Rockhill Insurance?


                      - - - -Yes          - - - - -No.


   If your answer to question 3 is NO, then you should proceed to answer question
   4.
   However, if your answer to question 3 is YES, then your verdict is for Rockhill
   Insurance. Simply skip the remaining questions and proceed to sign and date the
   verdict form on page 7.



   Question 4:

   What sum of money do you find from the greater weight of the evidence to be the amount
   of AM Grand and AM 280's covered damages resulting from Hurricane Irma? Answer in
   dollars and cents.

   (You should not consider or apply any deductible in determining the amount of damages
   sustained by AM Grand and AM 280.)

   Total damages:   ~ qi IBD, 000

   Proceed to answer question 5.




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   Question 5:

  Do you find by the greater weight of the evidence that some or all of AM Grand and AM
  280's claimed damages were directly or indirectly caused by, resulted from, or
  contributed to by any pre-existing damages and/or wear and tear damages, to any
  covered property?



                      - - - -Yes          -✓
                                           ~_No.
   If your answer to question 5 is NO, then skip question 6 and proceed to question
   7.

  However, if your answer to question 5 is YES, then you should proceed to answer
  question 6.



  Question 6:

  What is the amount of such pre-existing damages and/or wear and tear damages claimed
  by AM Grand and AM 280 not caused by Hurricane Irma (This amount will be deducted
  from the amount you wrote in answer to question #4)? Answer in dollars and cents.

   Pre-Existing/ Wear and Tear damages:



   Proceed to question 7.



   Question 7:

   Do you find by the greater weight of the evidence that some or all of AM Grand and AM
   280's claimed damages were due to the entry of rain which passes through open doors,
   open windows, broken doors, or broken windows which have not been repaired, or
   through pre-existing damages or deteriorating building components which have not
   been repaired prior to the loss?


                                          __
                                           / _ No.
                      - - - -Yes




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   If your answer to question 7 is NO, then skip question 8 and proceed to question
   9.

  However, if your answer to question 7 is YES, then you should proceed to answer
  question 8.



  Question 8:

  What is the amount of such damages due to the entry of rain which passes through open
  doors, open windows, broken doors, or broken windows which have not been repaired,
  or through pre-existing damages or deteriorating building components which have not
  been repaired (This amount will be deducted from the amount you wrote in answer to
  question #4)? Answer in dollars and cents.

  Wind-Driven Rain Damages: _ _ _ _ __



   Proceed to question 9.



   Question 9:

  Do you find by the greater weight of the evidence that some or all of AM Grand and AM
  280's claimed damages were directly or indirectly caused by or resulted from 1) any
  continuous or repeated seepage/leakage of water occurring over a period of 14 days or
  more; or 2) the presence or condensation of humidity, moisture, or vapor occurring over
  a period of 14 days or more?



                      - - - -Yes                 ✓
                                          - - - - -No.

   If your answer to question 9 is NO, then skip question 10 and proceed to question
   11.

   However, if your answer to question 9 is YES, then you should proceed to answer
   question 10.




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  Question 10:

  What is the amount of such damages resulting from continuous or repeated seepage/
  leakage of water, or the presence or condensation of humidity, moisture, or vapor claimed
  by AM Grand and AM 280 not caused by Hurricane Irma (This amount will be deducted
  from the amount you wrote in answer to question #4 )? Answer in dollars and cents.

  Seepage or Leakage of Water Damages:



   Proceed to question 11.



  Question 11:

  Do you find by the greater weight of the evidence that some or all of AM Grand and AM
  280's claimed damages were caused by or resulted from faulty, inadequate, or defective
  maintenance, design, workmanship, or repair?



                      - - - -Yes
                                           _/_No.
   If your answer to question 11 is NO, then skip question 12 and proceed to question
   13.

   However, if your answer to question 11 is YES, then you should proceed to answer
   question 12.



   Question 12:

   What is the amount of such damages resulting from faulty, inadequate, or defective
   maintenance, design, workmanship, or repair claimed by AM Grand and AM 280 not
   caused by Hurricane Irma (This amount will be deducted from the amount you wrote in
   answer to question #4)? Answer in dollars and cents.

   Faulty Maintenance or Repair Damages:



   Proceed to question 13.



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   Question 13:

  Do you find by the greater weight of the evidence that the construction of the buildings at
  the property at issue in this lawsuit brought by AM Grand and AM 280 is older than 20
  years at the effective;ate of this policy being November 17, 2016?

                __J
                  ___ Yes                   _ _ _ _ _ No



   If your answer to question 13 is NO, then skip questions 14 and 15 and proceed to
   sign and date the verdict form on page 7.



  Question 14:

  Do you find by the greater weight of the evidence that the roof coverings of the buildings
  at the property at issue in this lawsuit brought by AM Grand and AM 280 have been
  replaced in the last 20 years?



                - - - - - Yes
                                                   ✓
                                            - - - - - No


   If your answer to question 14 is YES, then skip question 15 and proceed to sign
   and date the verdict form on page 7.

   However, if your answer to question 14 is NO, then you should proceed to answer
   question 15.



   Question 15:

   What is the actual cash value of the damage to the roof coverings of the building at
   issue in this lawsuit? Answer in dollars and cents.



   Actual Cash Value of Roof Coverings     \C\ U1 \ '6 ~ . 3<\

   Proceed to sign and date the verdict form on page 7.


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   SO SAY WE ALL, this   i'L day of November, 2019.

                                                      l.:)<   Cl   "c:
                                                        FOREPERSON




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